Case

Oo OA HTD Nn BP W NO

NO NR KN NNO RO wm ee

28

McCormick, BARSTOW,
SHEPPARD, WAYTE &

CARRUTH LLP

7647 NORTH FRESNO STREET

FRESNO, CA 93720

 

 

3:17-cv-00192-AJB-MSB Document 51-2 Filed 04/23/18

McCormick, Barstow, Sheppard,
Wayte & Carruth LLP
Scott J. Ivy, #197681
Scott.ivy y@mecormickbarstow. com
Devon R. McTeer #230539
devon.mcteer(@mccormickbarstow.com
Jared Gordon, #227980
Jared. gordon@mccormickbarstow. com
7647 North Fresno Street
Fresno, California 93720
Telephone: (559) 433-1300
Facsimile: (559) 433-2300

Attorneys for Plaintiff, SATMODO, LLC

PagelD.883 Page 1 of 3

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF CALIFORNIA

SATMODO, LLC, a California limited
liability company,

Plaintiff,
V.

WHENEVER COMMUNICATIONS,
LLC, d.b.a. SatellitePhoneStore.com, a
Nevada limited liability company
HENAA BLANCO, an individual, and
DOES 1 through 50, inclusive,

Defendants.

 

 

I, Lars Schou, declare as follows:

Case No. 17-CV-0192-AJB NLS

DECLARATION OF LARS SCHOU
IN SUPPORT OF MOTION FOR
DETERMINATION OF
DISCOVERY DISPUTE NO. 1

Judge: Hon. Nita L. Stormes

Action Filed: February 1, 2017
Trial Date: None Set

1 I am a Senior Forensics Manager at Lighthouse (formerly Discovia), a

litigation support consulting firm headquartered in San Francisco, California. If called

as a witness, I would and could competently testify to all facts stated herein from my

personal knowledge except where stated upon information and belief and, as to these

matters, I am informed and believe them to be true

os I submit this declaration in support of Plaintiff Satmodo, LLC’s Motion

For Determination of Discovery Dispute No. 1.

17-CV-0192-AJB NLS

DECLARATION OF LARS SCHOU IN SUPPORT OF MOTION FOR DETERMINATION OF DISCOVERY
DISPUTE NO. 1

 
Casé

Oo AN HD Wn BP W NO KF

NO NO WH KN NY NO FF Ke Re RB Ee RO RB Se
Soe oS BS Se SS aoa a Ga BG GS = Ss

28

McCormick, BARSTOW,
SHEPPARD, WAYTE &

CARRUTH LLP

7647 NORTH FRESNO STREET

FRESNO, CA 93720

 

 

3:17-cv-00192-AJB-MSB Document 51-2 Filed 04/23/18 PagelD.884 Page 2 of3

3. As to the purported listing of “IP addresses,” the List attached as Exhibit
“F” to the McTeer Declaration provides nothing more than a self-prepared listing of
what Defendants apparently contend is a snapshot of IP addresses as currently
identified by some devices as reflected on recent “screen shots” of the devices that
accompanied the List. A self-prepared list of IP addresses prepared in this manner is
almost worthless in the context of the claims asserted in this action.

4, While the column header "Dates Active" may seem to imply that the IP
address listed in the preceding column has been assigned to the device for an extended
period of time, in some cases several years, this is not the case.

>. Computers, phones, and tablets may be assigned different IP addresses on
a monthly, weekly, or even daily basis depending on how and where the device is used.

6. This is specially so where mobile devices such as smartphones and tablets
are concerned, as those may be assigned new IP addresses by the service provider as the
devices are moved around on a day to day basis.

7. In fact, a user does not have to physically move the mobile device to make
it connect to a different cell tower to get a new IP address. Simply toggling Airplane
Mode on and off again will often have the same effect, i.e. a new IP address will be
assigned to the device.

8. Thus, unverified and self-prepared “screenshots” of the purported current
IP address for some generically described “cell phones” and “home phones” does not
provide the information sought by these Interrogatories.

9. Without obtaining the information sought as to all devices, and conducting
inspections of the devices to attempt to obtain historical IP address information,
Defendants’ expert's analysis, seeking to minimize the fraudulent clicks attributable to
the Defendants’ devices by relying on IP addresses obtained in this manner, is nothing
more than self-serving speculation based upon woefully incomplete information. Mr.
Kent’s explanation that the devices would not record or retain “public IP addresses” is

simply wrong. Even “public IP addresses” are often found stored in browser cookies

2 17-CV-0192-AJB NLS

DECLARATION OF LARS SCHOU IN SUPPORT OF MOTION FOR DETERMINATION OF DISCOVERY
DISPUTE NO. 1

 
Case

0 AN BD wn FSP W NHN KF

NON NO NO N NO FF KF KF KF PF Pr PS EE lh
aR Rk OH FS Se aA aA ea ww SB S

28

McCormick, BARSTOW,
SHEPPARD, WAYTE &

CARRUTH LLP

7647 NORTH FRESNO STREET

FRESNO, CA 93720

 

3:17-cv-00192-AJB-MSB Document 51-2 Filed 04/23/18 PagelD.885 Page 3 of 3

and these can persist for extended periods of time. Creating a forensic image of a
computer or device would also allow us to carve the unallocated space for deleted files
(including cookies) and extract IP addresses from those. Carving is typically less
useful with mobile devices, but active cookies should still be examined. An inspection
of the devices themselves will also allow us to determine (1) if VPN (“virtual private
networks”) applications were ever installed or used to mask the location of the devices,
(2) to determine if the device has been reformatted, modified, or altered between the
filing of the lawsuit and the date of inspection, and (3) to determine if internet access
was provided through other undisclosed devices (i.e. public Wi-Fi or tethering to burner

phones).

I declare under penalty of perjury under the laws of the United States of America
that the foregoing is true and correct and that this declaration was executed by me on

April 23, 2018, at San Francisco, California.

a
/
C f

fA. Jy es

 

Lars Schou

18265-00000 5085193.2

3 17-CV-0192-AJB NLS

DECLARATION OF LARS SCHOU IN SUPPORT OF MOTION FOR DETERMINATION OF DISCOVERY
DISPUTE NO. 1

 

 
